                    UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF WISCONSIN
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UNITED STATES OF AMERICA,

                      Plaintiff,
v.                                                  Case Number 97-cr-98

DAVID KADLEC,

                  Defendant.
________________________________________________________________________

     MOTION FOR AN ORDER ALLOWING COUNSEL TO PROVIDE TO
                  ANDREW GELTZER A COPY OF THE
 UNITED STATES’ RESPONSE TO DAVID KADLEC’S PRO SE MOTION FOR
             SENTENCE REDUCTION (FILED UNDER SEAL)
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       The defendant, David Kadlec, by his counsel, Kathleen M. Quinn, hereby moves

the Court for an order allowing me to provide to the preparer of Mr. Kadlec’s pro se

motion for sentence reduction, Mr. Andrew Geltzer, a copy of the government’s (sealed)

response to the motion for sentence reduction.

       As grounds for this motion, the Court is shown the following:

       On December 7, 2021, Mr. Geltzer, filed “David Kadlec’s Pro Se Expedited

Motion for Compassionate Release Based on 18 U.S.C. § 3582(C)(1)(A); Motion for

Phone Recordings; and Motion to Appoint Counsel.” (Doc. 2266).

       On December 13, 2021, the Court referred the motion to the Federal Defender

Services of Wisconsin, Inc. (“FDS”). (Doc. 2267). On January 11, 2022, FDS requested

the Court appoint counsel. (Doc. 2268).




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       On January 21, 2022, the Court ordered the government to submit a response to

the Defendant’s pro se motion after which the Court would determine whether

appointment of counsel would be appropriate. (Doc. 2270). On February 14, 2022, the

government filed its response (Doc. 2275) and a motion for an order sealing the

government’s response (Doc. 2274).

       In its response, the government argued, in part, that Mr. Kadlec failed to exhaust

his administrative remedies - - a requirement before a Court can consider modifying a

term of imprisonment under 18 U.S.C. § 3582(c)(1)(A). On February 23, 2022, the Court

issued an order (Doc. 2277) by which it denied Mr. Kadlec’s motion for compassionate

release (Doc. 2266) without prejudice; granted the parties’ motions (Docs. 2264 and

2274) to seal their respective submissions; and referred the matter to Magistrate Judge

Stephen C. Dries for appointment of counsel. (Doc. 2277).

       On February 24, 2022, Magistrate Judge entered an order directing FDS to seek

counsel to represent Mr. Kadlec with respect to any future motion for compassionate

release. (Doc. 2278). Thereafter, on April 6, 2022, I was appointed to represent Mr.

Kadlec. (Doc. 2279).

       Since my appointment, Mr. Geltzer has continued to be a steadfast friend and

advocate for Mr. Kadlec, including filing on Mr. Kadlec’s behalf on September 7, 2022, a

renewed motion for compassionate release, filed pro se, and to appoint new counsel.

(Doc. 2305). The Court entered an order, (Doc. 2306), on the same date. In that order,

the Court expressed uncertainty as to whether Doc. 2305 “is intended to be a standalone

motion for compassionate release, or a supplement to the prior motion for compassionate


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release,” and providing alternative courses for the defense to pursue within thirty (30)

days of the order, in order to clear up this uncertainty.

       Since the entry of the Court’s September 7, 2022 order, I have been able to speak

to Mr. Kadlec and I have had email communications with Mr. Geltzer. I believe both

men will make a better decision as to how to respond to the Court’s order (Doc. 2306) if

Mr. Geltzer is able to review the government’s responsive pleading (Doc. 2275) which is

currently under seal. That is the reason for this motion.

       Dated at Milwaukee, Wisconsin, this 10th day of September, 2022.

                                       Respectfully submitted:

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